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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF FLORIDA
                                     GAINESVILLE DIVISION
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
SHARON WRIGHT AUSTIN, MICHAEL                                        :
MCDONALD, AND DANIEL A. SMITH,                                       :
JEFFREY GOLDHAGEN, TERESA J. REID,                                   :
and KENNETH B. NUNN,                                                 : 1:21-cv-00184-MW-GRJ
                                                                     :
                               Plaintiffs,                           :
                                                                     :
         v.                                                          :
                                                                     :
UNIVERSITY OF FLORIDA BOARD OF                                       :
TRUSTEES, the public body corporate acting for :
and behalf of the University of Florida, W. KENT :
FUCHS, in his official capacity as President of the :
University of Florida, JOSEPH GLOVER, in his :
official capacity as Provost of the University of :
Florida, and LAURA ROSENBURY, in her                                 :
official capacity as Dean of the Fredric G. Levin :
College of Law,                                                      :
                                                                     :
                               Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

                    DECLARATION OF TERESA J. REID

I, Teresa J. Reid, hereby declare and state as follows:

       1.     I am a Master Lecturer and Master Legal Skills Professor at the

University of Florida’s Fredric G. Levin College of Law (the “Law

School”).    I have been a member of the University of Florida’s (the

“University”) faculty since 1987. I have personal knowledge of the matters

set forth herein.
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        2.    My areas of teaching and expertise include the death penalty,

legal writing, appellate advocacy, legal ethics, legal professionalism,

evidence, and mediation. I have presented numerous lectures and performed

pro bono work on these topics, including by signing onto amicus briefs in

the areas of criminal law and legal professionalism.

        3.    Until recently, the Law School encouraged the faculty to lend

our voices and legal skills to issues that are important to our community or

in the public interest, including by signing onto amicus briefs.

        4.    I was, therefore, surprised when I first learned of the

University’s Conflicts of Commitment and Conflicts of Interest Policy (the

“Policy”), and how the Policy has been interpreted by the Law School.

        5.    Based on a communication from Dean Laura Rosenbury to the

Law School Faculty on February 10, 2020, I was initially under the

impression that signing on to an amicus brief was not considered an

“Outside Activity” that would require disclosure and approval through the

conflicts process (“UFOLIO”). Ex. 1.1

        6.    On July 1, 2020, I received an email from my colleague,

Professor Kenneth Nunn, asking if I would be interested in signing on as an

amicus in the Jones, et al. v. DeSantis, et al., No. 20-12003 (11th Cir.)

1
 “Ex. X” refers to the exhibits attached to the Declaration of Morgan A. Davis, submitted
herewith.


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litigation, which challenged a statute restricting voting rights of Florida

residents with felony convictions. Ex. 3. I readily agreed.

      7.      Shortly thereafter, however, the Policy as it applied to amicus

briefs signed by Law School faculty shifted. In an email dated July 9, 2020

to the Law School faculty, Dean Rosenbury stated that there had been a

change: now, Law School faculty were required to seek permission before

signing onto an amicus brief in a case opposing the State of Florida. Ex. 4.

      8.      Though I was concerned by this sudden shift—which came only

days after Professor Nunn had emailed colleagues to ask if they wanted to

join the amicus brief in Jones—I submitted a UFOLIO request for approval

to sign on as an amicus in Jones.

      9.      On July 12, 2020, my UFOLIO request to sign the amicus brief

in Jones was approved with the condition that I “participate in this outside

relationship in [my] individual capacity only.” Ex. 5. My approval notice

from the University further stated that I was “not permitted to use any UF

marks, logos or other identifiers in [my] outside activity/interest, and [could]

not otherwise imply or suggest any official affiliation with UF.” (emphasis

added.) Id.

      10.     When the amicus brief was filed, only four Law School

professors, including myself, were listed among the 93 signatories. Ex. 8.



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In addition, my institutional affiliation was omitted from the brief. I was one

of only four law professors without my institutional affiliation listed. Id.

         11.   Although I understood that I was permitted to join the amicus

brief in Jones v. DeSantis in my personal capacity only, the additional

requirement that my institutional affiliation not be listed lessened the impact

of my signature on the brief. I was asked to sign this particular amicus brief

and have been asked to sign amicus briefs in the past in part because of my

more-than-thirty-year tenure at the University. My professional association

and affiliation with the University, one of the country’s leading public law

schools and the State’s top-ranked law school, not only lends credibility to

my signature, but it also reflects decades of hard work and devotion to

educating the next generation of lawyers and advocates. Including it also

would have aided the court in weighing a matter of fundamental significance

to the people of Florida.      My institutional affiliation was therefore an

important part of the message that I intended to convey in signing the amicus

brief.     By preventing me from including it, the University suppressed my

speech.

         12.   The University’s Policy has left me concerned that I will not be

permitted to sign on to an amicus brief or otherwise participate in litigation

adverse to the State’s viewpoint in the future. The Policy—including the



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amendments to the Policy recommended by the task force—provides no

clarity as to what activities must be disclosed and what the criteria are for

determining whether an activity constitutes a conflict of interest. Critically,

the amendments do not even address signing amicus briefs. In addition, the

amendments provide no clear guidelines for how long the University’s

review and approval process will take.

      13.    I am often asked to advise in lawsuits concerning my areas of

teaching. Many of these cases seek emergent relief, including emergency

motions in death penalty cases, and the time window for my participation is

very short. If I were to submit a UFOLIO request, there is a real risk that

this window will have closed by the time I receive a decision.           More

importantly, the University retains the discretion to deny my application if it

does not agree with the viewpoint I seek to express.

      14.    If I were to take the risk of proceeding—even in a minor

capacity, doing no more than answering a simple question—without the

University’s approval, I could face serious professional consequences.

Indeed, the Policy states that one such consequence is termination. This is

particularly concerning for me because I am not tenured.

      15.    I am also concerned about the potential ramifications of this

Policy for my students, whose work apparently may be covered by the



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Policy when supervised by faculty. It is my job to teach law students—

individuals just beginning their legal careers—that it is their job and ethical

duty to stand up against actions by government entities that infringe their

rights or the rights of others. Yet, they are now bearing witness to the

University’s actions, under color of state law, that are infringing the rights of

their professors and mentors. They have seen firsthand the impact of the

University’s actions and the reluctance amongst the faculty to speak up for

fear of repercussions. I fear that if this Policy is able to remain in effect, our

students—our future—will also be silenced by the University. Such an

outcome should never happen in a place of learning where dialogue, open

communication, and acceptance of diverse viewpoints should be applauded,

not suppressed.

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that

the foregoing is true and accurate.

      Executed on December 1, 2021.



                                         _____________________
                                         Teresa J. Reid




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